UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GLOBAL GAMING PHILIPPINES, INC.,

                             Plaintiff,

                 v.                       No. 21-CV-2655 (LGS) (SN)

ENRIQUE K. RAZON, JR.,
BLOOMBERRY RESORTS AND HOTELS
INC., and SURESTE PROPERTIES, INC.,
                         Defendants.




                EXPERT REPORT OF TERESITA J. HERBOSA
                         Dated: September 16, 2022
I.    INTRODUCTION

      A.       Assignment

      1.       I have been retained by one of the Defendants, Mr. Enrique K. Razon, Jr.
(hereinafter, “Mr. Razon”), to provide expert analysis and testimony related to: (a) veil-
piercing under Philippine law, particularly, on the application of the alter ego principle
in the Philippine setting; (b) the validity and existence of certain restraints, known as
writs, issued by the Philippine courts against the so-called Option Shares (the “Writs”);
and (c) proper corporate formalities under Philippine law and permissible Philippine
corporate governance standards and practices.

      2.       In preparing this report, I have relied upon my education, knowledge, and
understanding of, and over more than forty-four (44) years of experience in, corporate
law and commercial litigation in the Philippines.

      3.       The current hourly rate for my work is PhP8,500.00. My compensation is
not affected by my findings or the outcome of this litigation.

      4.       My work in this matter is ongoing, and I reserve the right to supplement
my analysis and opinions should more information become available to me and/or any
report submitted on behalf of Plaintiff Global Gaming Philippines, LLC (“GGAM” or
“Plaintiff”) in response to my analysis and opinions. Some of the analysis underlying my
conclusions was performed by colleagues of mine working under my direction and
supervision.

      B.       Qualifications

      5.       I had been a commercial litigation lawyer for thirty-three (33) years, until I
was appointed as the Chairperson of the Securities and Exchange Commission (“SEC”)
in April 2011 for a seven (7) year term which ended in June 2018.
securities and other instruments. It endeavors to protect the interest of the investing
public and maintain an efficient, fair, orderly, and transparent market. The PSE thus
serves as a regulator (or to be more precise, a private self-regulatory organization) for
publicly-listed companies (“PLCs”) in the Philippines.

       41.     From the foregoing, it must be understood that Philippine law on
corporations traces its roots back to both civil and common law, meaning that statutory
provisions and jurisprudential doctrines both govern corporations. Moreover, these
corporations are regulated by the Philippine government, particularly the SEC, as the
chief regulator of corporations, and the PSE, as a self-regulatory organization for PLCs.

       C.      Philippine law expressly recognizes and adheres to the concept of
               separate juridical personality of each corporation

       42.     In Philippine law, the principle of corporate separateness is known as the
principle of separate juridical personality. This principle is well-established in statutes.
Section 2 of the RCC affirms the juridical capacity of a corporation by defining it as “an
artificial being created by operation of law, having the right of succession and the powers,
attributes, and properties expressly authorized by law or incidental to its existence.”19
Relatedly Republic Act No. 386, or the Philippine Civil Code, expressly provides that
corporations are juridical persons “to which the law grants a juridical personality,
separate and distinct from that of each shareholder, partner, or member.”20




19     Rep. Act No. 11232 (2019), Sec. 2.
20     Rep. Act No. 386 (1959), Art. 44(3).

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       43.     Every corporation registered with the SEC, whether stock corporation, non-
stock corporation, corporation vested with public interest, close corporation, or one
person corporation, thus has a separate juridical personality.

       44.     Private corporations commence their corporate existence and juridical
personality from the time the SEC issues a certificate of incorporation in their favor.21
Hence, upon the issuance by the SEC of the corporation’s certificate, such corporation
enjoys a separate juridical personality from the individual members composing the same.

       45.     In the case at bar, BRHI, SPI, and BRC, upon the issuance by the SEC of their
certificates of incorporation and signifying their SEC registration, were vested with a
separate juridical personality from the people comprising and/or heading them.22

       46.     The rationale for recognizing a corporation’s separate juridical personality
is to facilitate ease of doing business. Otherwise, corporations would be greatly
prejudiced by the inefficiency of having to act through individuals, which will ultimately
defeat the very purpose of the creation of a corporation. In Filipinas Port Services, Inc. v.
Go,23 it was explained that (emphasis supplied):

               “The raison d'etre behind the conferment of corporate powers on the
               board of directors is not lost on the Court. Indeed, the concentration
               in the board of the powers of control of corporate business and of
               appointment of corporate officers and managers is necessary for
               efficiency in any large organization. Stockholders are too
               numerous, scattered and unfamiliar with the business of a


21     Rep. Act No. 11232 (2019), Sec. 18.
22     China Banking Corporation v. Dyne-Sem Electronics Corporation, G.R. No. 149237, 11 June 2006,
       494                 SCRA                 493,                accessible               through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/41566, last accessed 2 August 2022;
       Bustos v. Millians Shoe, Inc., G.R. No. 185024, 4 April 2017, 824 SCRA 67, accessible through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/63009, last accessed 2 August 2022.
23     G.R.    No.    161886,     16   March    2007,   518   SCRA    453,     accessible   through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/45295, last accessed 7 August 2022.

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                corporation to conduct its business directly. And so the plan of
                corporate organization is for the stockholders to choose the directors
                who shall control and supervise the conduct of corporate business.”

        47.     It bears stressing that separate juridical personality is not only the general
rule, but is most often the only rule, for corporations. In Philippine National Bank v. Hydro
Resources Contractors Corporation,24 the Philippine Supreme Court pertinently explained
that:
                “A corporation is an artificial entity created by operation of law. It
                possesses the right of succession and such powers, attributes, and
                properties expressly authorized by law or incident to its existence. It
                has a personality separate and distinct from that of its stockholders
                and from that of other corporations to which it may be connected.
                As a consequence of its status as a distinct legal entity and as a result
                of a conscious policy decision to promote capital formation, a
                corporation incurs its own liabilities and is legally responsible for
                payment of its obligations. In other words, by virtue of the separate
                juridical personality of a corporation, the corporate debt or credit is
                not the debt or credit of the stockholder. This protection from
                liability for shareholders is the principle of limited liability.”

        D.      Veil-piercing is an exceptional equitable remedy

        48.     An exception to the doctrine of separate juridical personality is the doctrine
 of piercing the veil of corporation. The Philippine Supreme Court has called the doctrine
 of piercing the corporate veil “an equitable doctrine developed to address situations
 where the separate corporate personality of a corporation is abused or used for wrongful
 purposes.”25




24      G.R.    No.    167530,     13   March    2013,   693   SCRA    294,     accessible   through
        https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/55813, last accessed 2 August 2022.
25      Philippine National Bank v. Ritratto Group, Inc., G.R. No. 142616, 31 July 2001, 362 SCRA 216,
        accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/52382, last
        accessed 2 August 2022.

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       49.     Veil-piercing remains an exceptional equitable remedy in the Philippine
setting, which, in the words of the Philippine Supreme Court, “has to be done with
caution.”26 The Court has further explained:

               “A court should be mindful of the milieu where it is to be applied. It
               must be certain that the corporate fiction was misused to such an
               extent that injustice, fraud, or crime was committed against another,
               in disregard of rights. The wrongdoing must be clearly and
               convincingly established; it cannot be presumed. Otherwise, an
               injustice . . . may result from an erroneous application.”27

       50.     Being a rare exception to the longstanding principle of separate juridical
personality, veil-piercing is heavily disfavored and must be done only with caution and
in compelling circumstances.28

       51.     Indeed, the Philippine Supreme Court will only pierce the veil of corporate
fiction when there are extraordinary circumstances that result in fraud and injustice on
the claimant. As such, the Philippine Supreme Court in recent years has applied the
exceptional doctrine of veil piercing only sparingly and in extreme cases where there is
existence of fraud or illegality, or for reasons of public policy, or where unfairness would
otherwise result. From 2002-2022, out of the 138 cases that were found to have piercing
the corporate veil as an issue, the Philippine Supreme Court only applied the piercing
doctrine in 39 cases. Out of these 39 cases, only 12 were alter ego cases (one type of veil-
piercing case as explained below).29



26     Vda. de Roxas v. Our Lady’s Foundation, Inc., G.R. No. 182378, 6 March 2013, 692 SCRA 578,
       accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/55626, last
       accessed 2 August 2022.
27     Ibid.
28     See Maricalum Mining Corporation v. Florentino, G.R. No. 221813, 23 July 2018, 872 SCRA 572,
       accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last
       accessed 2 August 2022.
29     My colleagues at ACCRALAW conducted this analysis at my direction.

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       E.       Theories under which Philippine jurisprudence analyzes whether veil-
                piercing is appropriate

       52.      The Philippine Supreme Court has stated that veil-piercing may be applied
in one of three scenarios:

             a. defeat of public convenience as when the corporate fiction is used as a
                vehicle for the evasion of an existing obligation (“defeat of public
                convenience”);

             b. fraud cases or when the corporate entity is used to justify a wrong, protect
                fraud, or defend a crime (“fraud cases”); or

             c. alter ego cases, where a corporation is merely a farce since it is a mere alter
                ego or business conduit of a person, or where the corporation is so
                organized and controlled and its affairs are so conducted as to make it
                merely an instrumentality, agency, conduit, or adjunct of another
                corporation or individual.30

       53.      In its Opinion and Order, 31 the New York Court cited the case of Rivera v.
United Laboratories, Inc.32 to support the conclusion that Philippine law does not apply a
conjunctive test in analyzing whether a corporation is an alter ego of another, but rather,




30     Pantranco Employees Association v. National Labor Relations Commission, G.R. No. 170689, 17
       March           2009,         581        SCRA         598,        accessible        through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/48981, last accessed 2 August 2022;
       Maricalum Mining Corporation v. Florentino, G.R. No. 221813, 23 July 2018, 872 SCRA 572,
       accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last
       accessed 2 August 2022.
31     Opinion & Order, pp. 11-12.
32     G.R.    No.     155639,     22   April   2009,   586  SCRA     269,     accessible   through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/49091, last accessed 2 August 2022.

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only an alternative test. Rivera, however, merely enumerated the three theories when
corporate veil-piercing may be applied, namely:

               “[i] when such corporate fiction is used to defeat public convenience,
               [ii] justify wrong, protect fraud, or defend crime, or when it is made
               as a shield to confuse the legitimate issues, or [iii] where a
               corporation is the mere alter ego or business conduit of a person, or
               where the corporation is so organized and controlled and its affairs
               are so conducted as to make it merely an instrumentality, agency,
               conduit or adjunct of another corporation.”33

       54.     Both before Rivera, including in Pantranco Employees Association v. National
Labor Relations Commission34 (also cited by the New York Court), 35 and as recently as 2018,
the Philippine Supreme Court has discussed these three alternate theories.36

       55.     GGAM expressly claims to proceed solely according to the third theory.37
GGAM claims that Mr. Razon completely dominated, controlled, and otherwise
governed the Bloomberry Defendants, including their policies and business practices,
such that a declaration of the liability of Mr. Razon, as their alter ego, is necessary to allow
GGAM to recover from Mr. Razon the unpaid amount of what it terms the “Alter Ego
Debt.”38 To establish alter-ego under Philippine law, the plaintiff must meet a stringent
three-part test. The test is conjunctive, i.e., all conditions must be met. See Section F below.




33     Ibid.
34     G.R.    No.    170689,     17   March    2009,   581   SCRA    598,     accessible   through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/48981, last accessed 2 August 2022.
35     Opinion & Order, p. 12.
36     Maricalum Mining Corporation v. Florentino, G.R. No. 221813, 23 July 2018, 872 SCRA 572,
       accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last
       accessed 2 August 2022.
37     SAC ¶¶ 205-210.
38     SAC ¶¶ 205-210; Plaintiff’s Interrogatory Responses, pp. 29-34; Opinion and Order, p. 12.

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       56.     Even if GGAM attempted to proceed under a defeat of public convenience
or fraud theory, my opinion is that the Philippine courts would not find those theories
applicable or their requirements met here. The Philippine Supreme Court has not clearly
delineated when it is applying each of the three theories and oftentimes, any combination
of the three theories is applied. Adding an additional layer of complexity is that many
veil-piercing cases involve labor disputes to which the Philippine Supreme Court applies
extra scrutiny to ensure there has not been an abuse of the corporate form due to public
policy considerations afforded to labor.39

       57.     For instance, Total Petroleum Philippines Corporation v. Lim and Tyreplus
Industrial Sales, Inc.40 involved a company president who was held personally liable for
damages arising from commercial distributorship agreements entered into by two
supposed separate and distinct entities.41 Relying on the president’s misrepresentations
to the plaintiff-distributor (Total) that Tyreplus (the first entity with which the distributor
contracted) merely changed its name to Superpro, when in truth, the two companies were
distinct entities, Total entered into a second commercial distributorship agreement with
Superpro. 42 Such misrepresentations were found to have been made with the intention
of defrauding Total and evading Tyreplus’ obligations under the first distributorship


39     See, e.g., Virata v. Ng Wee, G.R. No. 220926, 5 July 2017, 830 SCRA 271, accessible through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/63192, last accessed 9 August 2022
       (Corporate personality may be disregarded when a corporation’s separateness is used “as device
       to defeat the labor laws.”). This case, of course, is not a labor case. It concerns arm’s length dealings
       between Plaintiff and the Bloomberry Defendants in which there was no apparent imbalance of
       power. The Court therefore would likely be far more reluctant to pierce the veil than it has been in
       the labor cases, since sophisticated commercial actors can take care of themselves, unlike workers
       deprived of a salary by their employer’s malfeasance.
40     G.R.    No.     203566,     23   June   2020,    939  SCRA     372,     accessible   through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/66300, last accessed 3 August 2022.
41     Total Petroleum Philippines Corporation v. Lim and Tyreplus Industrial Sales, Inc., G.R. No.
       203566,      23       June      2020,    939      SCRA     372,       accessible     through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/66300, last accessed 3 August 2022.
42     Ibid.

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agreement. The Philippine Supreme Court, using language from both the defeat of public
convenience and the fraud theories, held the president personally liable because he had
“dealt in bad faith when he knowingly misled Total into executing the new Agreement
with Superpro” and had “misuse[d] Tyreplus as a corporation to perpetuate breach of
contractual obligations.”43

       58.     Total Petroleum is distinguishable from what I understand to be the facts
here. The liability of the officer there arose from the fact that the officer created the second
corporation precisely to avoid the contractual obligation. Here, I understand there not to
be any dispute that BRHI and SPI were created long before any of the asserted wrongful
acts were committed, are duly organized, existing, and operating a legitimate business to
this date, and clearly were not organized for the purpose of avoiding the enforcement of
the Award. Furthermore, I have been informed that GGAM conducted due diligence on
Mr. Razon, BRHI, and SPI, contracted with BRHI and SPI, but has not initiated recovery
directly from BRHI and SPI.

       59.     Another example of a case where the Philippine Supreme Court mixed
theories (defeat of public convenience and fraud), and did so in a labor case, is Esico v.
Alphaland Corporation.44 In that case, the Philippine Supreme Court pierced the veil of a
company to award payment of an unpaid salary to an employee after the company had
transferred the employee’s payroll to an affiliate to avoid payment of the salary.45 The
Court found that “the totality of circumstances evince fraud on the part of the
[employers’] group of companies to evade an existing obligation. Undoubtedly,




43     Ibid.
44     G.R.       No.        216716,      17     November       2021,       accessible      through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/67906, last accessed 2 August 2022.
45     Ibid.

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[employers’] group of companies availed [themselves of employee’s] services . . . for
which he was not properly compensated.”46

       60.     Likewise, in Pamplona Plantation Company v. Tinghil,47 another labor case,
the Philippine Supreme Court discussed both the fraud and alter ego theories. It rejected
a defendant corporation’s argument (raised for the first time on appeal) that its affiliated
company, rather than the defendant, was the actual employer of plaintiffs and so needed
to be a party to the dispute.48 The Philippine Supreme Court, without expressly
referencing the three-part test for alter ego cases, took note of typical alter ego factors
(e.g., that the corporations “use only one office and one payroll,” defendant corporation’s
name was on the “weekly payrolls,” “there is only one management which the laborers
deal with regarding their work,” and plaintiffs “all received their pay from the same
person”), while also using fraud language when it concluded that defendant’s “attempt
to make the two corporations appear as two separate entities, insofar as the workers are
concerned, should be viewed as a devious but obvious means to defeat the ends of the law.
Such a ploy should not be permitted to clod the truth and perpetuate an injustice.”49

       61.     Rivera, cited by the New York Court,50 was also a putative fraud (the second
theory) veil-piercing case.51 In that case, Rivera commenced employment with United
Laboratories, Inc. (“UNILAB”) as senior manufacturing pharmacist and later became
Director of UNILAB’s Manufacturing Division. Rivera completed 30 years of service and



46     Ibid. (emphases added).
47     G.R.       No.       159121,       3       February      2005,       accessible       through
       https://lawphil.net/judjuris/juri2005/feb2005/gr_159121_2005.html, last access 2 August 2022.
48     Ibid.
49     Ibid. (first emphasis in original; second emphases added).
50     Opinion & Order, pp. 11-12, 13.
51     G.R.    No.     155639,     22   April   2009,   586  SCRA     269,     accessible   through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/49091, last accessed 2 August 2022.

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UNILAB retired her pursuant to the terms of its retirement plan. However, at Rivera’s
request, UNILAB allowed her to continue working for the company; she was even
promoted to the position of Assistant Vice-President. Rivera also served as a personal
consultant under contract with UNILAB’s sister companies, which assigned Rivera to
render service involving UNILAB. Rivera claimed that her retirement pay from UNILAB
should include pay for her consultancy services for UNILAB’s sister companies. The
Philippine Supreme Court rejected Rivera’s argument, explaining “we see no basis in the
present case to conclude that UNILAB committed any fraud or illegality in employing a
retired employee whose knowledge, experience and expertise the company recognized,
as an employee or as a consultant. . . . and we see no need to engage in piercing the veil
of these corporate entities that she advocates.”52

       62.     This case is similar to Kukan International Corporation v. Reyes,53 a case also
cited by the New York Court,54 where the court declined to pierce the corporate veil on a
fraud theory. In that case, Kukan, Inc. (“Kukan”) conducted a bidding for the supply and
installation of signage in a building. Morales tendered the winning bid, but despite his
compliance with his contractual undertakings, he was not paid the full amount of the
contract price. Morales filed a complaint for sum of money, and thereafter secured a writ
of execution against Kukan. The sheriff executed the judgment against various personal
properties found at what was supposed to be Kukan’s office. However, Kukan
International Corporation (“KIC”) asserted that it owned the properties so levied and that
it was a different corporation from Kukan even though KIC was incorporated shortly
after Kukan had stopped participating in Morales’ civil case for sum of money. The



52     Ibid.
53     Kukan International Corporation v. Reyes, G.R. No. 182729, 29 September 2010, 631 SCRA 596,
       accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/54563, last
       accessed 2 August 2022.
54     Opinion & Order, p. 13.

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Philippine Supreme Court ultimately found that the doctrine of piercing the corporate
veil found no application to the case, as “there is no showing that the incorporation, and
the separate and distinct personality, of KIC was used to defeat Morales’ right to recover
from Kukan, Inc. Judging from the records, no serious attempt was made to levy on the
properties of Kukan, Inc.”55

       63.     In conclusion, GGAM’s theory of veil-piercing liability pertains to the third
theory for piercing the corporate veil, i.e., an alter ego case. And, even if it did not, the
Philippine courts still would likely insist on satisfaction of the conjunctive three-part test
that applies to alter ego claims (discussed in Section G. below). GGAM’s inability to
satisfy that test tends to suggest that the Philippine courts would also deem the other two
theories, even if not expressly couched as conjunctive, unsatisfied here.

       F.      Veil-piercing on the basis of an alter ego theory requires application of a
               conjunctive three-pronged test

       64.     For alter ego cases, jurisprudence requires the concurrence of ALL of the
following elements:

               a.     Control, not mere majority or complete stock control, but complete
                      domination, not only of finances but of policy and business
                      practice in respect to the transaction attacked so that the corporate
                      entity as to this transaction had at the time no separate mind, will
                      or existence of its own;

               b.     Such control must have been used by the defendant to commit
                      fraud or wrong, to perpetuate the violation of a statutory or other




55     Ibid.

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                      positive legal duty, or dishonest and unjust act in contravention of
                      the plaintiff's legal rights; AND

               c.     The aforesaid control and breach of duty must proximately cause
                      the injury or unjust loss complained of.56

      65.     Indeed, as recently as 2018, the Philippine Supreme Court reiterated:

              “Piercing the corporate veil based on the alter ego theory requires
              the concurrence of three elements: control of the corporation by the
              stockholder or parent corporation, fraud or fundamental unfairness
              imposed on the plaintiff, and harm or damage caused to the plaintiff
              by the fraudulent or unfair act of the corporation. The absence of
              any of these elements prevents piercing the corporate veil. Again,
              all these three elements must concur before the corporate veil may
              be pierced under the alter ego theory.”57

      G.      Jurisprudential guidelines dictate that the three-pronged test in alter ego
              cases is not satisfied in the case at bar

              1.      The control, or instrumentality, test is not met here

      66.     The first test to be established in alter ego cases is the “instrumentality” or
“control” test. 58 The control test: (a) requires complete control and domination of the


56    Yamamoto v. Nishino Leather Industries, Inc., G.R. No. 150283, 16 April 2008, 551 SCRA 447,
      accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/45043, last
      accessed 2 August 2022; Philippine National Bank v. Hydro Resources Contractors Corporation,
      G.R. No. 167530, 13 March 2013,693 SCRA 294; Maricalum Mining Corporation v. Florentino, G.R.
      No.       221813,    23     July    2018,    872    SCRA      572,     accessible    through
      https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last accessed 2 August 2022..
57    Maricalum Mining Corporation v. Florentino, G.R. No. 221813, 23 July 2018, 872 SCRA 572,
      accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last
      accessed 2 August 2022.
58    Maricalum Mining Corporation v. Florentino, G.R. No. 221813, 23 July 2018, 872 SCRA 572,
      accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last
      accessed 2 August 2022; Pantranco Employees Association v. National Labor Relations Commission, G.R.
      No.     170689,     17      March    2009,     581      SCRA        598,     accessible    through
      https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/48981, last accessed 2 August 2022

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       100.    Given that the actions taken by the Bloomberry Defendants are within the
 bounds of law, my opinion is that the same could not be viewed as “wrongdoing” which
 would warrant piercing the veil of corporate fiction.

               3.     The harm test is not met here

       101.    The last element to establish an alter ego case is that the injury complained
 of has to have been proximately caused by the control exercised by and fraud /
 injustice committed by the parent corporation (or putative controlling individual). 97
 Philippine courts utilize the “harm” test in determining the existence of this element.
 The “harm” element requires “[a] causal connection between the fraudulent conduct
 committed through the instrumentality of the [corporation] and the injury suffered or
 the damage incurred by the plaintiff should be established. The plaintiff must prove that,
 unless the corporate veil is pierced, it will have been treated unjustly by the defendant’s
 exercise of control and improper use of the corporate form and, thereby, suffer
 damages.”98

       102.    First, I believe that GGAM cannot show that Mr. Razon has caused it any
 “harm” because GGAM has not filed any action for recognition and enforcement of the
 Award in the Philippines, which is where I understand the Bloomberry Defendants have
 their assets. That GGAM has not attempted to recover from the Bloomberry Defendants,
 much less definitively establish that they do not have sufficient assets against which
 GGAM can recover, is fatal to their claim of having supposedly suffered “harm” as a
 consequence of the alleged acts of Mr. Razon.




97     Maricalum Mining Corporation v. Florentino, G.R. No. 221813, 23 July 2018, 872 SCRA 572,
       accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last
       accessed 2 August 2022.
98     Ibid.

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       103.    The Philippine Supreme Court in Maricalum denied veil piercing in similar
 circumstances (emphasis added):

               “In the case at bench, complainants have not yet even suffered any
               monetary injury. They have yet to enforce their claims against
               Maricalum Mining. It is apparent that complainants are merely
               anxious that their monetary awards will not be satisfied because
               the assets of Maricalum Mining were allegedly transferred
               surreptitiously to G Holdings. . . .”99

       104.    Likewise, in another recent case, WPM International Trading, Inc. v.
Labayen,100 the Philippine Supreme Court:

               “[O]bserved that the [Court of Appeals] failed to demonstrate how
               the separate and distinct personality of [a company] was used by
               [defendant] to defeat the respondent’s right for reimbursement.

               Neither was there any showing that [the company] attempted to
               avoid liability or had no property against which to proceed. Since
               no harm could be said to have been proximately caused by
               [defendant] for which the latter could be held solidarily liable with
               [the company], and considering that there was no proof that the
               company had insufficient funds, there was no sufficient
               justification for the RTC and the [Court of Appeals] to have ruled
               that [defendant] should be held jointly and severally liable to the
               respondent . . . .”

       105.    Similarly, in Kukan, cited by the New York Court, the court declined to
pierce the veil where “no serious attempt was made to levy on the properties of Kukan,
Inc.”101



99     G.R.    No.     221813,     23   July   2018,    872  SCRA     572,     accessible  through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last accessed 2 August 2022
       (emphasis added).
100    G.R. No. 182770, September 17, 2014, 735 SCRA 297, accessible through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/57767, last accessed 9 August 2022.
101    Ibid.

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       106.    Second, as mentioned above, it appears to me that the acts complained of
 are, for the most part, legally available remedies to BRHI and SPI. As such, any
 consequences of the exercise of said remedies could not be considered as the “harm”
 contemplated in the context of corporate veil piercing.

       107.    Third, as discussed above, many of the complained-of acts that supposedly
brought general harm to the Bloomberry Defendants (e.g., the Boards’ decision to
indemnify Mr. Razon, or their supposed failure to inform themselves before approving
Mr. Razon’s use of personnel and facilities of the Bloomberry Defendants) are more
properly challenged in a derivative action brought on behalf of the Bloomberry
Defendants, rather than in an action for corporate veil- piercing.102 As discussed above,
the harm to GGAM must be directly caused by the alleged wrongful act. It is not enough
that GGAM is harmed indirectly and derivatively as a mere shareholder of BRC.

       108.    Furthermore, let me reiterate that both a derivative suit and a suit for
corporate veil piercing are remedies of last resort. In this case, GGAM is not without
relief. GGAM admits that the Bloomberry Defendants posted an injunction bond in the
Philippine proceedings. In Limitless Potentials, Inc. v. Court of Appeals,103 the Philippine
Supreme Court held that “the injunction bond is intended as a security for damages in
case it is finally decided that the injunction ought not to have been granted.” Section 20
of Rule 57 of the Rules of Court, “which is similarly applicable to a preliminary injunction,
has outlined the procedure for the filing of a claim for damages against an injunction
bond. The aforesaid provision of law pertinently provides:

               ‘Section. 20. Claim for damages on account of improper, irregular or
               excessive attachment. - An application for damages on account of
               improper, irregular or excessive attachment must be filed before the

102    For a more thorough discussion on the difference between an individual suit and a derivative suit
       see Ching v. Subic Bay Golf and Country Club, Inc., G.R. No. 174353, 10 September 2014.
103    G.R. No. 164459, 24 April 2007.

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              trial or before appeal is perfected or before the judgment becomes
              executory, with due notice to the attaching party and his surety or
              sureties, setting forth the facts showing his right to damages and the
              amount thereof. Such damages may be awarded only after proper
              hearing and shall be included in the judgment on the main case.’”104

      109.    In addition, if the bond were not sufficient to cover GGAM’s damages,
GGAM, as the beneficiary, could proceed directly against the companies that obtained
the bond or the parties in whose favor the injunction was issued.105

      110.    To reiterate, assuming the alleged harm to GGAM stems from supposed
cases of corporate mismanagement, such as when the acts are committed by the directors
or trustees themselves, the proper remedy is a derivative suit by a stockholder on behalf
of the allegedly mismanaged corporation.106

              4.      Additional considerations

      111.    First. Fraud should be clearly and convincingly proved.107 As the
Philippine Supreme Court has explained:

              “This standard of proof is derived from American common law. It is
              less than proof beyond reasonable doubt (for criminal cases) but
              greater than preponderance of evidence (for civil cases). The degree
              of believability is higher than that of an ordinary civil case. Civil
              cases only require a preponderance of evidence to meet the required
              burden of proof. However, when fraud is alleged in an ordinary civil
              case involving contractual relations, an entirely different standard of
              proof needs to be satisfied. The imputation of fraud in a civil case
              requires the presentation of clear and convincing evidence. Mere


104   Ibid.
105   See Rule 5.9 of the Special ADR Rules. See also Section 20 of Rule 57 and Section 8 of Rule 58 of the
      Rules of Court.
106   Cua, Jr. v. Tan, G.R. No. 181455-56, 4 December 2009, 607 SCRA 645.
107   Kukan International Corporation v. Reyes, G.R. No. 182729, 29 September 2010, 631 SCRA 596,
      accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/54563, last
      accessed 2 August 2022.

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              allegations will not suffice to sustain the existence of fraud. The
              burden of evidence rests on the part of the plaintiff or the party
              alleging fraud. The quantum of evidence is such that fraud must be
              clearly and convincingly shown.”108

       112.   Second. A party may not resort to veil-piercing if it was in estoppel. Under
 the equitable doctrine of estoppel, “an admission or representation is rendered
 conclusive upon the person making it and cannot be denied or disproved as against the
 person relying thereon. A party may not go back on his own acts and representations to
 the prejudice of the other party who relied upon them.”109 Accordingly, if a party
 conducted due diligence before binding itself to the terms and conditions of its contract
 with another corporation, said party should have been put on notice regarding the
 corporation’s financial capability, creditworthiness, and corporate governance. The
 party should not be allowed to claim from the corporation’s parent (or anyone else) on
 the sole basis that the corporation cannot make good on its obligations.

       113.   Third. The fact that the Bloomberry Defendants are associated with BRC, a
 PLC in good standing, should also be considered. PLCs are subject of heavy regulatory
 requirements (see below Section VI.C.). If a PLC has never been delisted from the PSE,
 has no outstanding penalties, and has maintained a good share value, it is unlikely that
 the PLC would be deemed a mere “instrumentality, agency, conduit, or adjunct”110 of a
 subsidiary or stockholder so as to justify disregarding the corporate form. In fact, it
 would be difficult to conclude that a PLC is an ”alter ego” of its controlling shareholder
 because a PLC is mandated to maintain a ”minimum public float” of at least 15% to 20%.



108    Tankeh v. Development Bank of the Philippines, G.R. No. 171428, 11 November 2013.
109    Caltex (Philippines), Inc. v. Court of Appeals, G.R. No. 97753, August 10, 1992, 212 SCRA 448;
       Philippine National Bank v. Court of Appeals, G.R. No. L-30831, 21 November 1979, 94 SCRA 368.
110    Maricalum Mining Corporation v. Florentino, G.R. No. 221813, 23 July 2018, 872 SCRA 572,
       accessible through https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/64333, last
       accessed 2 August 2022.

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V.     THE WRITS ISSUED AS INTERIM MEASURES OF PROTECTION REMAIN
       IN FULL FORCE AND EFFECT

       114.    I understand that GGAM has taken the position that the Writs do not
remain in place.111

       115.    I disagree. Philippine Courts have already conclusively and finally held
that the Writs do remain in place and are valid.

       116.    Based on the documents that have been shown to me, I understand that
GGAM’s theory is as follows:

               “(1) Rule 5.13 of the Philippine Special Rules of Court on Alternative
               Dispute Resolution Rules expressly provides that:


               [a]n interim measure of protection issued by the arbitral tribunal
               shall, upon its issuance be deemed to have ipso jure modified, amended,
               revised or revoked an interim measure of protection previously issued by the
               court to the extent that it is inconsistent with the subsequent interim
               measure of protection issued by the arbitral tribunal; (emphasis
               added);


               (2) on December 9, 2014, the Arbitral Tribunal issued the Interim
               Measures Award which expressly vacated the ‘Injunction,’ stating:


               this Order of the Tribunal on Interim Relief issued in the instant
               arbitration proceeding in regard to the “Claimants’ Request For
               Interim Measures of Protection Pursuant to Article 26 of the
               UNCITRAL Arbitration Rules” is deemed to have superseded the final
               Order dated February 25, 2014 of the Regional Trial Court of Makati City,
               Philippines. Accordingly, the Writs of Preliminary Injunction and
               Attachment issued pursuant to the final Order dated February 25,
               2014 of the Regional Trial Court of Makati City, Philippines shall now

111    SAC ¶ 253 (referring to “the fiction that the preliminary writs remain in place and [are] valid”);
       SAC ¶ 115 & 240 (alleging that the tribunal’s Interim Measures Award “expressly vacated and
       superseded the [] preliminary writs”).

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              be deemed to be vacated and lifted. This Order of the Tribunal on Interim
              Relief is in all respects substituted for and replaces that Order and the Writs
              of Preliminary Injunction and Attachment.

              ...

              (3) therefore, as a matter of Philippine law (Rule 5.13 of the Special
              Court Rules on ADR), upon the issuance of the Tribunal’s “Order In
              Respect Of Claimants’ Interim Measures’ Application,” the
              “Injunction” ceased to have any legal effect.”112

      117.    GGAM’s view, in other words, is that the Interim Measures Award is self-
executing, that it required no further legal proceedings to become effective, and that the
Interim Measures Award itself dissolved the Writs issued by the Philippine court. But
this exact position has already been presented to and rejected by the Philippine courts,
which, relying on different provisions of the Special ADR Rules, have held that the
tribunal’s Interim Measures Award is not self-executing, but rather is a foreign arbitral
award that must be presented to the Regional Trial Court for recognition and
enforcement. Because Plaintiff has not done so, the Award has not nullified the Writs,
which remain in place.

      118.    The Writs were issued pursuant to a February 25, 2014 Order of the RTC-
Makati. In a Resolution dated May 29, 2015 and affirmed on November 27, 2015, the Court
of Appeals: (a) rejected GGAM’s argument that the Interim Measures Award should be
considered to have automatically, or “ipso jure,” lifted the Writs; (b) denied GGAM’s
prayers that “judgment be rendered confirming the [Interim Measures Award]” and that
“Judgment be rendered annulling the RTC ‘Order’ of February 25, 2014”; and (c) instead
held that the Interim Measures Award is in the nature of a foreign arbitral award that,
under Rule 13 of the Special ADR Rules, requires recognition and/or enforcement
proceedings before it may be given legal effect.


112   Plaintiff’s Interrogatory Responses, p. 19.

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       119.    From representations made to me, I understand that GGAM did not seek
review in the Philippine Supreme Court of these Resolutions of the Court of Appeals
dated May 29, 2015 and affirmed on November 27, 2015 referenced above in
paragraph 118. Those rulings thereby attained finality.

       120.    By the principle of conclusiveness of judgment, also known as collateral
estoppel or issue preclusion, a right, fact, or matter in issue is deemed to have been
conclusively settled by a final decision of a court and can no longer be relitigated in
subsequent proceedings between the parties.113

       121.    The requirements for the issue preclusion bar appear to be satisfied here.
The questions whether the Interim Measures Award was self-executing and whether the
Writs remain in place were fully and finally settled in proceedings between GGAM and
the Bloomberry Defendants. That Mr. Razon (unlike GGAM) was not formally a party to
those proceedings is of no moment. The Philippine Supreme Court has explained that,
for purposes of res judicata, “only substantial identity of parties is required and not
absolute identity” and that “[t]here is substantial identity of parties when there is a
community of interest between a party in the first case and a party in the second case
even if the latter was not impleaded in the first case.”114 Put another way: “shared
identity of interest is sufficient to invoke the coverage of this principle.”115 Based on
GGAM’s own claims that Mr. Razon has sole control and dominant ownership of Prime
(a party to the RTC-Makati proceedings), I believe this standard is satisfied here.

       122.    The matter of the continued existence of the Writs has again been put to
issue when Deutsche Bank filed a Motion for Clarification and/or Set Clarificatory Hearing


113    E.g., Degayo v. Magbanua-Dinglasan, G.R. No. 173148 (Apr. 6, 2015); see also 1997 Rules of Civil
       Procedure, Rule 39, Sec. 47(c).
114    Sendon v. Ruiz, G.R. No. 136834 (Aug. 15, 2001).
115    Degayo v. Magbanua-Dinglasan, G.R. No. 173148 (Apr. 6, 2015) (emphasis in original).
                                                  54
Ad Cautelam116 with the RTC-Makati on the validity of the injunction, attachment and
garnishment. The RTC-Makati stated anew in an Order dated November 23, 2017 that the
Interim Measures Award “require[s] recognition and enforcement by this Court”117 and
“affirm[ed] the continuing validity of its Order February 25, 2014 and the writs of
preliminary injunction and preliminary attachment issued pursuant thereto.”118 The
Court of Appeals likewise denied GGAM’s appeal of this Order.

VI.    PHILIPPINE LAW AND PRACTICE ON CORPORATE GOVERNANCE, AND
       BLOOMBERRY’S COMPLIANCE THEREWITH

       A.       Overview of Corporate Formalities

                1.        Board actions

       123.     The Board. Under Philippine law, a corporation’s board of directors
(“Board”) is its governing body. By default, the Board is vested with and exercises all
powers of the corporation.119 Where a corporation’s bylaws allow for it, the Board can
delegate duties to an executive committee of the Board.120 A Board elects officers who
“manage the corporation and perform such duties as may be provided in the bylaws
and/or as resolved by the board of directors.”121 A decision is a valid corporate act if the
decision is reached by a majority of the directors that constitute the quorum at a given
meeting (except that the election of officers requires a majority vote of all members of the
Board).



116    See Motion for Clarification and/or Set Clarificatory Hearing Ad Cautelam filed by DB-Manila.
117    Page 6 of Order dated November 23, 2017 of the RTC-Makati in SP. Proc. No.M-7567.
118    Page 7 of Order dated November 23, 2017 of the RTC-Makati in SP. Proc. No.M-7567.
119    Rep. Act No. 11232 (2019) (the “RCC” or “Revised Corporation Code”), Sec. 22 (“Unless otherwise
       provided in this Code, the board of directors or trustees shall exercise the corporate powers,
       conduct all business, and control all properties of the corporation”); see also B.P. 68, Sec. 23.
120    Ibid. Sec. 34; see also B.P. 68, Sec. 35.
121    Ibid. Sec. 24; see also B.P. 68, Sec. 25.

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       124.    The principle that oversight and governance is centralized in the Board has
been recognized by the Philippine Supreme Court. For example, in Filipinas Port Services,
Inc. v. Go,122 the Court noted that the Board “has the sole authority to determine policies,
enter into contracts, and conduct the ordinary business of the corporation within the
scope of its charter, i.e., its articles of incorporation, by-laws and relevant provisions of
law” and held that the Board “has the power to create positions not provided for in [a
corporation’s] bylaws since the board is the corporation’s governing body.”

       125.    The most common way in which a Board exercises its corporate powers is
through the issuance of a Board resolution. However, in Board of Liquidators v. Heirs of
Maximo M. Kalaw,123 the Philippine Supreme Court said that the Board’s exercise of
powers may be implied where the board collectively and knowingly allows the President
to enter into important contracts in the pursuit of the corporate business. The Court
concluded that the board need not have a special meeting to approve or ratify contracts
being entered into by the general manager when, by custom, he contracts alone on behalf
of the corporation.

       126.    Ratification. A resolution may ratify previous acts. Ratification is when the
corporation (through the Board) voluntarily adopts, confirms, and sanctions an otherwise
unauthorized act after the fact.124 Nevertheless, ratification may involve not only a formal
resolution, but may also be implied from silence, implied acquiescence, or even estoppel,
evinced by participation in the implementation of the corporate act.125 The result is that




122    G.R.    No.    161886,     16   March    2007,   518   SCRA    453,     accessible   through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/45295, last accessed 7 August 2022.
123    G.R. No. L-18805, 14 August 1967, 20 SCRA 987.
124    Yasuma v. Heirs of De Villa, G.R. No. 150350, 22 August 2006, 499 SCRA 466, accessible through
       https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/43105, last accessed 2 August 2022.
125    Ibid.

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the said act becomes authorized as if it had been performed with corporate imprimatur
from the start.

                2.      Procedural requirements

       127.     Stockholder meetings can be regular or special. Regular stockholder
meetings occur annually, and must be preceded by at least 21 days of notice. Special
meetings may happen “at any time deemed necessary or as provided in the bylaws,” and
must be preceded by at least one week of notice.126 The notice for stockholder meetings
must be accompanied by the agenda for the meeting, a proxy form, and, if the meeting is
for the election of directors, “the requirements and procedure for nomination and
election.”127

       128.     Election of directors. The members of the Board – that is, the directors – are
elected at a meeting of the shareholders.128 The election must be attended, either in person
or through a representative authorized by proxy, by the owners of a majority of the
outstanding capital stock. Each voting stockholder effectively holds votes equal to the
number of shares of stock owned (as shown in the stock and transfer books of the
corporation) multiplied by the number of directors to be elected, and may cast those votes
for only one candidate or distribute those votes among two or more of the candidates as




126    Rep. Act No. 11232 (2019), Sec. 49; see also B.P. 68, Sec. 50. The 2019 legislation effected the
       following changes: (a) 21 days’ notice instead of 2 weeks; (b) provision of notice through electronic
       means; (c) prescribed contents of minutes of meetings of stockholders; (c) requirements for
       presenting specific matters during regular meetings of stockholders.
127    Rep. Act No. 11232 (2019), Sec. 50; see also B.P. 68, Sec. 51. Prior to 2019, there was no prescribed
       content for notices of meetings.
128    Rep. Act No. 11232 (2019), Secs. 22, 23; see also B.P. 68, Secs. 23, 24.

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the stockholder sees fit.129 The nominees for director receiving the highest number of
votes are declared elected.130

       129.    The law in effect allows corporations to have interlocking directors by
virtue of a provision recognizing the same and requiring for certain conditions for
contracts involving corporations with interlocking directors.131 It is a usual practice to
have common directors and officers especially among member-companies of a
conglomerate.

       130.    A PLC, such as BRC, is duty bound to have at least 20% of its Board consist
of independent directors. An independent director is defined as a “person who, apart
from shareholdings and fees received from the corporation, is independent of
management and free from any business or other relationship which could, or could
reasonably be perceived to materially interfere with the exercise of independent
judgment.”132 Independent directors are also “subject to rules and regulations governing
their qualifications, disqualifications, voting requirements, duration of term and term
limit, maximum number of board memberships and other requirements that the
Commission will prescribe to strengthen their independence and align with international
best practices.”133

       131.    Board meetings. A corporation’s Board has regular meetings monthly, or
as otherwise specified in the corporation’s bylaws.134 The bylaws of SPI provide for




129    E.g., Rep. Act No. 11232 (2019), Sec. 23; see also B.P. 68, Sec. 24.
130    Ibid.
131    See Rep. Act No. 11232 (2019), Sec. 32; see also B.P. 68, Sec. 33.
132    Rep. Act No. 11232 (2019), Sec. 22.
133    Ibid.
134    Rep. Act No. 11232 (2019), Sec. 52; see also B.P. 68, Sec. 53.

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meetings each quarter; BRHI’s do not vary from the statutory default.135 Special meetings
may be held at any time as provided in the bylaws or on the call of the president.136

       132.    A meeting of the Board requires a quorum. Unless otherwise specified in
the bylaws or articles of incorporation, a quorum consists of a majority of the number of
directors set forth in the articles of incorporation.137 As a general rule, a majority of those
present and constituting a quorum may decide on matters brought to the Board for
consideration, on a one vote per one director basis, regardless of the number of shares
owned or controlled by a director.

       133.    Notice of board meetings. Unless a longer time is specified in a
corporation’s bylaws (which is not the case for BRHI or SPI138), notice of a regular or
special meeting of the Board “must be sent to every director . . . at least two (2) days prior
to the scheduled meeting.”139 However, a director “may waive this requirement, either
expressly or impliedly.”140 Being present in a board meeting without objecting to the lack
of notice will constitute a waiver of the notice requirement.141 In addition, the notice may
not be required if there is an established usage to the contrary, or it is useless, impossible
or impracticable to provide the notice.

       134.    Appointment of officers. Immediately after being elected, a corporation’s
board of directors must elect a president (who must be a director), a treasurer (who must
be a resident of the Philippines), a secretary (who must be a citizen and resident of the

135    SPI Bylaws (contained in BLOOM_0041070) Art. III, Sec. 4; Amended BRHI bylaws
       (BLOOM_0041027) Art. III, Sec. 4.
136    Rep. Act No. 11232 (2019), Sec. 52; see also B.P. 68, Sec. 53.
137    Rep. Act No. 11232 (2019), Sec. 52; see also B.P. 68, Sec. 53.
138    SPI bylaws Art. III, Sec. 5; Amended BRHI bylaws (BLOOM_0041027) Art. III, Sec. 5.
139    Rep. Act No. 11232 (2019), Sec. 52; see also B.P. 68, Sec. 53.
140    Ibid.
141    Conpharm Industries, Inc. v. Santillana, SEC-SICD Case No. 3210, 29 January 1992.

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Philippines) and such other officers as may be provided in the bylaws.142 SPI’s bylaws
also provide for the election of a Chairman and one or more Vice Presidents.143 BRHI’s
bylaws provide for the election of a Vice-President.144 BRHI’s and SPI’s bylaws each state
that “[t]he Board may, from time to time, appoint such other officers as it may determine
to be necessary or proper.”145

      135.    Separate operations. A holding company and its operating subsidiaries
maintaining separate operations is an indicia of the observance of corporate formalities
and/or separateness sufficient to defeat veil-piercing.

              3.       Maintenance of corporate records

      136.    Minutes. Meetings are documented through minutes. The Philippine
Supreme Court has declared that the corporate secretary has the duty to record and
prepare the minutes of Board meetings.146 The signature of the corporate secretary gives
the minutes of the meeting probative value and credibility.147 Under the RCC, the minutes
of meetings of the Board and of the stockholders are among the corporate records that
must be kept by a corporation. The minutes must “set forth in detail, among others: the
time and place of the meeting held, how it was authorized, the notice given, the agenda
therefor, whether the meeting was regular or special, its object if special, those present


142   Rep. Act No. 11232 (2019), Sec. 24; see also B.P. 68, Sec. 25.
143   SPI Bylaws Art.IV, Sec. 1.
144   Amended BRHI Bylaws Art. IV, Sec. 1.
145   SPI Bylaws Art. IV, Sec. 1; Amended BRHI Bylaws Art. IV, Sec. 1.
146   See also SPI bylaws Art. IV Sec. 5(a) (providing that Secretary is responsible for “the proper
      recording of the minutes and transactions of all meetings of the directors and the stockholders”
      and for “maintain[ing] minute books of such meetings in the forma and manner required by law”);
      Amended BRHI bylaws Art. IV Sec. 5(a) (substantially similar provision).
147   People    v.   Dumlao,      G.R.   No.   168918,   2  March    2009,     accessible  through
      https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/48920, last accessed 9 August 2022;
      Virata v. Ng Wee, G.R. No. 220926, 21 March 2018, 830 SCRA 271, accessible through
      https://elibrary.judiciary.gov.ph/thebookshelf/showdocs/1/63889, last accessed 9 August 2022.

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and absent, and every act done or ordered done at the meeting.”148 Further, “the protest
of a director [or] stockholder . . . on any action or proposed action must be recorded in
full upon their demand.”149

      137.    However, the SEC has opined that the absence of the required details in the
minutes will not nullify the minutes if the basic information on when the meeting was
held, who were present, the presence of a quorum and the corporate action or resolution
approved appears in the minutes, and it is duly signed by the corporate secretary. Such
minutes, despite deficiencies in details, will be valid minutes and records of corporate
action, especially if the corporation acts on the resolution approved.150 The directors, by
signing the minutes of a Board meeting, essentially approve and ratify the minutes and
waive any formal or procedural deficiency in the Board meeting covered by the approved
and signed minutes.151

      138.    Financial statements. BRC, BRHI, and SPI are required to keep as corporate
records and to file with the SEC annual financial statements duly prepared by corporate
finance officers and audited by independent external auditors accredited by the SEC.

              g.       All corporations whose total assets or liabilities exceed PhP600,000
                       are required to file financial statements with the SEC under Section
                       177 of the RCC.152




148   Rep. Act No. 11232 (2019), Sec. 73; see also B.P. 68, Sec. 74. Prior to 2019, there was no prescribed
      contents of minutes of meetings.
149   Ibid.
150   See SEC Opinion dated 29 January 1992 -Conpharm Industries Inc. v. Santillana, SEC-SICD Case No.
      3210
151   Ibid.; see also Lopez Realty, Inc. v. NLRC, G.R. No. 76801, 11 August 1995.
152   Sec. 141 of B.P. 68.

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               h.       BRHI’s and SPI’s independent auditors are also subject to rules
                        promulgated by the SEC regarding their qualifications and
                        accreditations required, and other reportorial requirements for
                        independent auditors.153

               i.       Section 73 of the RCC states that “[c]opies of Reportorial
                        Requirements submitted to the SEC” are required to be kept as
                        corporate records. Audited annual financial statements are one of
                        the reportorial requirements submitted by corporations to the SEC.

       139.    Upon request, the SEC may issue a certification that a corporation has
complied with the filing of its Annual Financial Statements (“AFS”) and General
Information Sheet (“GIS”) for any given year one year after registration of their Articles
of Incorporation (“AOI”) with the SEC. The SEC imposes a fine for every non-filing of the
AFS and/or GIS. Further, the SEC requires the settlement of such penalty(ies) before any
application for approval of a major corporate act may be processed.154

       140.    The RCC mandates that non-filing of reportorial requirements may cause a
corporation to be placed on delinquent status. Failure of the corporation to lift such status
within the prescribed period of time may warrant revocation of its registration.155

       B.      Bloomberry has complied with applicable corporate formalities

       141.    Based on my reading of certain minutes of Board and stockholder meetings,
some Board resolutions, the bylaws for BRHI and SPI, which were furnished to me by
counsel, Bloomberry has complied with corporate formalities.



153    Securities Regulation Code (“SRC”) Implementing Rules and Regulations, Rule 68.
154    SEC Memorandum Circular No. 6, Series of 2005.
155    Rep. Act No. 11232 (2019), Sec. Secs. 177, 179, 158, 21.

                                                    62
               1.       Bloomberry has               complied        with   applicable    procedural
                        requirements

       142.     Meetings. Based on a list of BRHI/SPI meetings held156 and certain
minutes I have read, the Boards of the Bloomberry Defendants duly met, quorums
existed, at least a majority of the quorum voted on the matters put before them, and the
minutes appear to have ably recorded what transpired in those meetings.157

       143.    I understand that Plaintiff has asserted that “proper corporate formalities
related to notice and conduct of [the Bloomberry Defendants’] Board meetings were
disregarded.”158 However, none of the minutes that I read indicated that the Board
ignored these procedural requirements. The RCC even allows the Board to call a meeting
on shorter notice if urgent circumstances warrant and all directors have waived any
objection to any defect in the notice and the holding of the meeting.159

       144.    Election of directors. I have been asked to assume as true, for purposes of
this report, that, consistent with each respective corporations’ bylaws, members of the
Board of BRC, BRHI, and SPI were typically elected at annual meetings by each
corporation’s shareholders. Such practice is in compliance with the RCC.

       145.    Plaintiff complains that “[a]t shareholder meetings of BRC and [the
Bloomberry] Defendants, Razon controls the voting rights for tens of millions of shares,
while other shareholders have a single vote, such that he can control the outcome of all
votes at these meetings.”160 There is nothing unlawful about holding majority or even



156    Plaintiff’s Exhibit (“PX”) 168, BLOOM_0148666 (list of BRHI board meetings between 2011 to 2022);
       PX 169, BLOOM_0148670 (list of SPI meetings between 2011 to 2022).
157    See infra VI.B.4. for a list of Board minutes that I have read.
158    Plaintiff’s Interrogatory Responses, p. 43.
159    Rep. Act No. 11232 (2019), Sec. 50; B.P. Blg. 68, Sec. 51.
160    Plaintiff’s Interrogatory Responses, p. 26.

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the minutes of the audit committee’s meetings. These record maintenance practices are
in compliance with the RCC.177

       153.    I have been asked to assume as true that BRHI, SPI, and BRC are separately
audited on an annual basis and have separate books and records that are separately
maintained. This is in conformity with the requirements of the RCC, which requires a
corporation to separately review and approve its financial statements and, beyond a
threshold amount (which is met here), to be independently audited by SEC-accredited
external auditors.178

               3.       BRHI and SPI, on the one hand, and BRC, on the other hand,
                        operate separately

       154.    Plaintiff asserts that Mr. Razon has ultimate control and ultimate
management authority over each of BRHI, SPI, and BRC, suggesting that they are under
his thumb such that they have no independent personalities.179 But, if anything, the
separation of the operating subsidiaries (BRHI and SPI) from the holding company (BRC)
is indicative that the entities have independent personalities from each other – and Razon.

       155.    As mentioned previously, the separation of BRHI and SPI, on the one hand,
and BRC, on the other, is demonstrated by their separate boards, separate meetings
including for the elections of directors, and separate corporate records. Additionally, the
following are positive indications of separateness:

               a.       There are separate individuals that perform similar functions at the
                        holding company as compared to the operating subsidiaries, rather



177    Rep. Act No. 11232 (2019), Sec. 73, BP 68, Corporation Code of the Philippines, Sec. 74.
178    B.P. 68, Corporation Code of the Philippines, Sec. 75; Rep. Act No. 11232, Revised Corporation
       Code, Sec. 177(a).
179    E.g., Plaintiff’s Interrogatory Responses, at 32.

                                                     68
                          than the companies being operated as a single unit, e.g, the
                          operational personnel of BRC, on the one hand, and of BRHI and SPI,
                          on the other, such as the Chief Financial Officers and Human
                          Resources Heads, are different (these are facts I have been asked to
                          assume are true) 180; and

                b.        BRC employees work in offices on a separate floor of the Solaire
                          casino from BRHI and SPI employees (another fact that I have been
                          asked to assume is true); and

                c.        BRC holds shares in other subsidiaries separate from BRHI and SPI,
                          which entities also appear to have separate operations. 181

                4.        The at-issue actions were valid corporate acts

        156.    As noted above, a decision is a valid corporate act if the decision is reached
by a majority of the directors that constitute the quorum at a given meeting. After reading
the minutes referenced below, I have noted the following approvals by the Board, which
indicate adherence to corporate formalities. Given that each act discussed below was
approved by a majority of the Board where a quorum was present, each act is a valid
corporate action.

  At-issue action/event      Date of    Defendant           Board Resolution or Corporate Action
                              Board     Company                          Approved
                            Meeting
 Termination of the        September    BRHI & SPI 1.     Resolution that “the Corporation be hereby
 MSA                       12, 2013                       authorized to terminate the MSA;”


180     In addition, Bloomberry’s website refers to “Management Team,” “Corporate Management,”
        which presumably are groups of individuals who are employed and paid by BRC, and a “Solaire
        Resort & Casino Property Management,” that is comprised of individuals employed by BRHI
        and/or SPI. https://bloomberry.ph/our-company/board-directors-and-management-team.
181     See pages 25-26 of the 2021 Annual Report of BRC referencing the businesses of its other
        subsidiaries apart from SPI and BRHI such as Bloom Capital B.V., Solaire de Argentina S.A., Solaire
        Korea and its subsidiaries, Bloomberry Cruise Terminals, Inc. and Bloomberry Resorts, Japan, Inc.

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  At-issue action/event    Date of      Defendant           Board Resolution or Corporate Action
                            Board       Company                          Approved
                           Meeting
                                                     2.   “Management was directed to prepare for
                                                          arbitration” with GGAM.

                                                     BRHI Minutes, BLOOM_0041157
                                                     SPI Minutes, BLOOM_0041301
 Suspension of            January 13,   BRHI         1. “Board instructed Atty. Tan to seek a
 trading in BRC           2014                          voluntary trading suspension of BRC shares
 shares                                                 with the PSE”;
                                                     2. “The Board also authorized the filing of suits
 Filing of lawsuits to                                  and actions as necessary to protect the interest
 protect BRHI’s and                                     of the Corporation against GGAM.”
 SPI’s interests                                     3. Resolution that Ms. Estella Tuason-Occena be
 against GGAM                                           appointed with the power to, among other
                                                        things, “cause the filing, commencement,
 Obtaining bonds in                                     and/or prosecution of any action, petition,
 support of injunction                                  appeal, pleading and/or motion for and on
                                                        behalf of the Corporation to attach and
                                                        prevent the disposition of shares of stocked
                                                        owned by [GGAM] in [BRC].”
                                                     4. Resolution that “the Corporation be
                                                        authorized to apply for any and all kinds of
                                                        bonds that may be necessary in connection
                                                        with any proceedings involving the
                                                        Corporation.”

                                                       BRHI Minutes, BLOOM_0147651
                                                       SPI Minutes, BLOOM_0148454182
 Non-payment of           December      BRHI & SPI     “The Board resolved to approve, ratify and
 arbitral awards          29, 2017                     confirm the action to set aside the arbitral award
                                                       and/or to oppose their implementation.”


                                                       BRHI Minutes, BLOOM_0148481
                                                       SPI Minutes, BLOOM_0148461
 Non-payment of           November      BRHI & SPI     “[T]he Board approved, confirmed and ratified the
 arbitral awards          20, 2019                     appeal and petitions to challenge the Final
                                                       Award.”

                                                       BRHI Minutes, BLOOM_0148486
                                                       SPI Minutes, BLOOM_0148535


182     In addition, I was informed that BRC’s board met in February 2014, after being duly noticed in
        writing, and ratified the actions taken by BRC and BRHI with respect to the voluntary suspension
        of trading in BRC’s shares. As noted above, proceeding by ratification is permissible under
        Philippine law.

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  At-issue action/event     Date of      Defendant          Board Resolution or Corporate Action
                             Board       Company                         Approved
                           Meeting
 Non-payment of           March     4,   BRHI & SPI    The Board “resolved to continue the present
 arbitral awards          2021                         course of action to oppose the enforcement of the
                                                       Arbitral Award.”

                                                       BRHI Minutes, BLOOM_0148318
                                                       SPI Minutes, BLOOM_0148641
 Indemnification of       April    27,   BRHI & SPI    1. Resolution to “indemnify and hold harmless
 Razon                    2021                             Mr. Enrique K. Razon, Jr. [and the Dismissed
                                                           Defendants]” in connection with at-issue
 Razon’s use of BRHI-                                      litigation;
 leased aircraft and                                   2. Resolution to “approve, ratify and confirm
 facilities, resources,                                    the Related Party Transactions of [BRHI/SPI]
 and employees                                             as disclosed in the audited Financial
                                                           Statements and in the reports of the Parent
                                                           Company Bloomberry Resorts Corporation”;
                                                       3. Resolution to “approve, ratify and confirm [i]
                                                           the occasional use of the aircraft of the
                                                           Company by Chairman Enrique K. Razon, Jr.
                                                           and his family for his personal use or for the
                                                           use of his other business, noting that
                                                           Chairman Razon receives no compensation
                                                           from the Company for his services as
                                                           Chairman and CEO of the Company, and [ii]
                                                           the value of his use of the facilities, resources
                                                           and employees of the Company shall be
                                                           considered as his fair ‘compensation’”
                                                       4. “[T]he Board approved the Support Services
                                                           Agreement between the Company and BRC.”
                                                           [BRHI only]

                                                       BRHI Minutes, BLOOM_0148489
                                                       SPI Minutes, BLOOM_0148635

        157.    Dividends. SEC rules permit dividends to be issued at the board’s complete
discretion.183 In addition, Section 42 of the RCC provides that the Board has the power to
declare cash dividends for as long as unrestricted retained earnings exist. According to
BRC’s disclosures,184 as well as factual assumptions I have been asked to make, the


183     SEC Opinion Dated October 9, 1992 re: query of Mrs. Virginia Maghuyop.
184     E.g., BRC Annual Report for 2020 on Form 17-A (Mar. 24, 2021), Sec. 5.3; BRC Annual Report for
        2019 on Form 17-A (Mar. 4, 2020), Sec. 5.3; BRC Annual Report for 2018 on Form 17-A (Mar. 5,
        2019), Sec. 5.3.

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          164.    Considering that conditions (a), (b), and (c) of Section 31 of the RCC were
all satisfied, the benefits extended to Mr. Razon are valid and far from being voidable by
the corporation. Even assuming that one of these conditions was not satisfied, these
benefits are not necessarily rendered void, or prevented from being a valid corporate
action.

          165.     Condition (d) on approval by at least two-thirds of the entire membership
of the board, with at least a majority of the independent directors voting to approve the
material contract, is not applicable because BRHI and SPI are not PLCs. Condition (e) on
previous authorization by the Board is not applicable because Mr. Razon is a director and
not just an officer of BRHI and SPI.

          C.      BRC has complied with all requirements applicable to a PLC

          166.    Bloomberry Defendants are owned by a publicly listed company (a PLC).
PLCs are subject of heavy regulatory requirements imposed by laws and regulations.
Such companies are mandated to comply with disclosure rules and policies of the
government and with standards of quality and operations which aim to protect a PLC’s
dispersed shareholders and prevent fraudulent practices on the part of PLCs.194

          167.    In addition to the requirement that the board include independent directors
(discussed above), PLCs are required to have audit committees and compliance officers195
in order to help them comply with the SRC provisions on disclosure and other reportorial
requirements under the PSE Rules. Principle 3 of the Code of Corporate Governance
provides that board committees should be set up to the extent possible to support the
effective performance of the board’s functions, particularly with respect to audit, risk
management, related party transactions, and other key corporate governance concerns,


194       Philippine Stock Exchange, Inc. Consolidated Listing and Disclosure Rules, Article I, Sec. 3.
195       See Rep. Act No. 11232 (2019), Sec. 24; SEC Memo Circular No. 19-2016.

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such as nomination and remuneration. The composition, functions and responsibilities
of all committees established should be contained in a publicly available Committee
Charter.

      168.   Conglomerates which have PLCs as parent companies are bound to observe
transparency by submitting, on a regular basis, disclosures, integrated annual corporate
governance reports, and annual financial statements to the SEC. These statements must
be prepared by SEC-accredited auditors and must undergo quality reviews through the
SEC Oversight Assurance Review.196




196   See Special Rule on Financial Statements of Reporting Companies under Section 17.2 of the
      Securities Regulation Code, Rule 68.1.

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